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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION


JOHN DOE, JOHN DOE II, and                        §
JOHN DOE III                                      §
                                                  §
                                                  §
                                                  §
                                                  §
VS.                                               §       CIVIL ACTION NO. 2:08-cv-00299
                                                  §
                                                  §
ST. STEPHEN’S EPISCOPAL SCHOOL, et al.            §


         ORDER GRANTING PLAINTIFFS’ MOTION TO EXCLUDE OPINION
          TESTIMONY OF DEFENDANTS’ EXPERT BARBARA LONG, MD.


        ON THIS DAY CAME ON TO BE HEARD, the Motion to Exclude Opinion Testimony

of Defendants’ Expert Barbara Long, Md. The Court finds that the Motion should be Granted.

        Signed and entered this        day of                                , 2009.




                                           U.S. District Judge Presiding
